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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

Brent Mead,                                           Civil No. 13-2766 (JNE/JSM)

                     Plaintiff,

v.                                                         ORDER OF DISMISSAL
                                                             WITH PREJUDICE
Consumer Portfolio Services, Inc., Ivan
Doe, Abel Doe, Robin Doe, and Does 1-10,

                     Defendants.


          On November 26, 2013, Plaintiff filed a Notice of Voluntary Dismissal with

Prejudice [Docket No. 5]. Based on the notice, this action is dismissed with prejudice,

without taxation of costs or attorney fees to any party.

       IT IS SO ORDERED.


Dated: November 27, 2013                          s/Joan N. Ericksen
                                                  JOAN N. ERICKSEN
                                                  United States District Judge
